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                EXHIBIT 1
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                                                                       Page 1
              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                   SAN FRANCISCO DIVISION

                          ---oOo---



WAYMO LLC,

         Plaintiff,

vs.                                   No. 3:17-cv-00939-WHA

UBER TECHNOLOGIES, INC.;
OTTOMOTTO LLC; OTTO TRUCKING,
INC.,

        Defendants.
_____________________________/




         HIGHLY CONFIDENTIAL ATTORNEYS' EYES ONLY



           VIDEOTAPED DEPOSITION OF LARRY PAGE

                    PALO ALTO, CALIFORNIA

                    MONDAY, JULY 17, 2017




BY:   ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~

CSR LICENSE NO. 9830

JOB NO. 2658732



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                                                                        Page 26
1    from time to time, usually with other people, I think.                 12:23

2        Q    There were times when he visited your home;                   12:23

3    is that right?                                                         12:23

4        A    I don't recall that, but I'm -- it's                          12:23

5    possible.                                                              12:23

6        Q    Do you also have a ranch property?                            12:23

7        A    Yes.                                                          12:23

8        Q    What is it called?                                            12:23

9        A    I'm not sure which one you mean or -- or --                   12:24

10   so maybe you can give me more context.                                 12:24

11       Q    Is there one called                ?                          12:24

12       A    No.                                                           12:24

13       Q    What are your ranches called?                                 12:24

14       A               is a project that I believe Anthony                12:24

15   was working on.     I don't think that's the name of a                 12:24

16   ranch.                                                                 12:24

17       Q    What are your ranches called?                                 12:24

18       A    I mean, there's one maybe they're referring                   12:24

19   to where some testing has happened.                                    12:24

20            Is that what you're talking about?                            12:24

21       Q    Yes.                                                          12:24

22       A    What is the context here?                                     12:24

23       Q    I just want to know what it's called, so we                   12:24

24   at least are communicating about the same location.                    12:24

25       A    Well, maybe you can tell me which location                    12:24
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                                                                       Page 28
1   that you'd come up with, including                       ?             12:25

2       A    I mean, I don't recall that, but I know he                    12:25

3   was involved in that later.                                            12:25

4       Q    When you say "he was involved in that later,"                 12:25

5   what do you mean by "later"?                                           12:25

6       A    Well, I mean, after the initial                               12:25

7   brainstorming.                                                         12:25

8
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12       Q    And I appreciate that, and it can be                          12:28

13   designated attorneys' eyes only.                                       12:28

14            I'm just trying to make the point that you're                 12:28

15   working on




                                                                            12:28
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                                                                            12:29

8        Q    I -- I appreciate that.        And again, this can            12:29

9    be designated attorneys' eyes only.          It's not going to         12:29

10   be released publicly, but -- and -- and I actually                     12:29

11   think some of it may already be public.                                12:29

12




                                                                            12:29
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                                                              .           12:32

25          And you asked another question as well.                       12:32
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                                                                         12:33
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                                                                           12:33

15     Q    And what was he doing before?                                  12:33

16     A    He was CEO of Udacity.                                         12:33

17




                                                                           12:34

25          MR. GONZALEZ:      Q.   Did somebody approve of                12:34
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                                                                       Page 36
1   it?                                                                    12:34

2         A   I'm not sure of the legal process that we                    12:34

3   went through there.                                                    12:34

4
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